 Case 2:01-cr-00011   Document 517    Filed 06/30/09   Page 1 of 4 PageID #: 1926



                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON


UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:01-00011-06
GRACIE FLOSSIE SPRY

                      MEMORANDUM OPINION AND ORDER

           Pending is defendant’s motion to modify sentence, the
same document having been filed on June 2 and June 13, 2008,
pursuant to 18 U.S.C. § 3582(c)(2).         The motion to modify sentence
is based upon the November 1, 2007, amendment to U.S.S.G. § 2D1.1,
which the United States Sentencing Commission made retroactive
effective March 3, 2008.


           Section 1B1.10(b) controls a defendant’s eligibility for
a reduction in sentence based upon a post-disposition guideline
amendment.   Section 1B1.10(b)(1) provides as follows:
     In determining whether, and to what extent, a reduction
     in the defendant’s term of imprisonment under 18 U.S.C.
     § 3582(c)(2) and this policy statement is warranted, the
     court shall determine the amended guideline range that
     would have been applicable to the defendant if the
     amendment(s) to the guidelines listed in subsection (c)
     had been in effect at the time the defendant was
     sentenced. In making such determination, the court shall
     substitute only the amendments listed in subsection (c)
     for the corresponding guideline provisions that were
     applied when the defendant was sentenced and shall leave
     all other guideline application decisions unaffected.


U.S.S.G. § 1B1.1(b)(1) (emphasis supplied); U.S.S.G. § 1B1.10,

applic. note 1(A) (“Eligibility for consideration under 18 U.S.C.
 Case 2:01-cr-00011   Document 517   Filed 06/30/09   Page 2 of 4 PageID #: 1927



§ 3582(c)(2) is triggered only by an amendment listed in

subsection (c) that lowers the applicable guideline range.               . . .

[A] reduction in the defendant’s term of imprisonment is not

authorized under 18 U.S.C. § 3582(c)(2) and is not consistent with

this policy statement if: (i) none of the amendments listed in

subsection (c) is applicable to the defendant . . . .”).


           The October 9, 2001, Statement of Reasons appended to

the Judgment in this action reflects that the court found the

defendant responsible for a total marijuana equivalency of

3,935.36 kilograms based on various quantities of cocaine and

marijuana.   The presentence report (“PSR”) reflects that cocaine

base was neither the subject of the offense of conviction nor

included in calculating defendant’s relevant conduct.              The

retroactive amendments are limited to cocaine base.             See U.S.S.G.

amend. 706, 711 (Nov. 1, 2007); United States Sentencing

Commission, Amendments to the Sentencing Guidlines 70-85 (May 1,

2007) (stating “the problems associated with the 100-to-1 [cocaine

base to cocaine powder] drug quantity ratio are so urgent and

compelling that this amendment is promulgated as an interim

measure to alleviate some of those problems.”).




                                      2
 Case 2:01-cr-00011   Document 517   Filed 06/30/09    Page 3 of 4 PageID #: 1928



     Inasmuch as cocaine base played no role in defendant’s

incarceration, she may not rely upon the retroactive amendment for

modification of her sentence.        See 18 U.S.C. § 3582(c)(2) (“The

court may not modify a term of imprisonment once it has been

imposed except that . . . in the case of a defendant who has been

sentenced to a term of imprisonment based on a sentencing range

that has subsequently been lowered by the Sentencing Commission

pursuant to 28 U.S.C. 994(o) . . . the court may reduce the term

of imprisonment . . . if such a reduction is consistent with

applicable policy statements issued by the Sentencing

Commission.”).    The defendant’s motion is accordingly denied.


           To the extent the defendant also seeks further relief,

pursuant, inter alia, to Booker, it is ORDERED that her request

be, and it hereby is, denied.        See United States v. Dunphy, 551

F.3d 247 (4th Cir.    2009).


           The Clerk is DIRECTED to send a copy of this written

opinion and order to the defendant, the United States Attorney,

the Federal Public Defender and the United States Probation

Office.

                                          ENTER:      June 30, 2009


                                          John T. Copenhaver, Jr.
                                          United States District Judge


                                      3
Case 2:01-cr-00011   Document 517   Filed 06/30/09   Page 4 of 4 PageID #: 1929




                                     4
